                            UNITED STATES DISTRICT COURT
                            MIDDLE DISTRICT OF LOUISIANA

 DARCY ROAKE, et al.,

                                     PLAINTIFFS,

 v.                                                Civil Action No. 3:24-cv-517

 CADE BRUMLEY, et al.,                             Judge: JWD - SDJ

                                 DEFENDANTS.


                                     NOTICE OF APPEAL

       Pursuant to Federal Rule of Appellate Procedure 3(a), Defendants Cade Brumley, Conrad

Appel, Judy Armstrong, Kevin Berken, Preston Castille, Simone Champagne, Sharon Latten-

Clark, Lance Harris, Paul Hollis, Sandy Holloway, Stacey Melerine, Ronnie Morris, East Baton

Rouge Parish School Board, Livingston Parish School Board, Vernon Parish School Board, and

St. Tammany Parish School Board (“Defendants”) hereby appeal to the United States Court of

Appeals for the Fifth Circuit the Court’s November 12, 2024 Ruling on Defendants’ Motion to

Exclude Putative Expert Testimony (ECF No. 85) and the Court’s November 12, 2024 Ruling and

Order (ECF No. 86) denying Defendants’ Consolidated Motion to Dismiss and granting Plaintiffs’

Motion for Preliminary Injunction.




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Dated: November 12, 2024   Respectfully submitted,

                            /s/ J. Benjamin Aguiñaga_
                           J. BENJAMIN AGUIÑAGA*
                            Solicitor General
                            /s/ Zachary Faircloth_ ___
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                           Castille, Simone Champagne, Sharon Latten-
                           Clark, Lance Harris, Paul Hollis, Sandy
                           Holloway, Stacey Melerine, Ronnie Morris,
                           East Baton Rouge Parish School Board,
                           Livingston Parish School Board, Vernon Parish
                           School Board, and St. Tammany Parish School
                           Board

                           *pro hac vice granted




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